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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  HUNTINGTON DIVISION


CHARLES F. PLYMAIL,

                              Petitioner,

v.                                                 CIVIL ACTION NO. 3:14-6201

PATRICK A. MIRANDY,
Warden, St. Mary’s Correctional Center,

                              Respondent.

                                     JUDGMENT ORDER

               In accordance with the accompanying Order, the Court GRANTS Petitioner’s

Motion for Summary Judgment, OVERTURNS his 1993 state conviction in State v. Plymail, 93-

F-50 (Cir. Ct. Cabell Cty. W. Va. 1993), ORDERS that he be discharged from parole, and

DIRECTS that this case be dismissed and stricken from the docket of this Court.



               The Court DIRECTS the Clerk to send a certified copy of this Order to all counsel

of record, and any unrepresented parties.

                                            ENTER:         September 16, 2021




                                            ROBERT C. CHAMBERS
                                            UNITED STATES DISTRICT JUDGE
